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UNITED STATES DISTRICT COURT                                  t;
SOUTHERN DISTRICT OF NEW YORK                                 I!                          ,_ · , }.                      I
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  City of Almaty, Kazakhstan and BTA
  Bank JSC,
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                         Plaintiffs,                                    15-CV-5345 (AJN)

                 -v-                                                   MEMORANDUM
                                                                      OPINION & ORDER
  Mukhtar Ablyazov, Viktor Khrapunov, Ilyas
  Khrapunov, and Triadou SPV S.A.,

                         Defendants.



ALISON J. NATHAN, District Judge:

       On September 26, 2017, the Court issued an Amended Memorandum & Order that, in

part, denied the motion Crossclaim Defendants Mukhtar Ablyazov, Viktor Khrapunov, and Ilyas

Khrapunov (together, the "Individual Defendants") brought to dismiss claims asserted against

them for conversion, unjust enrichment, and constructive trust, based on the sufficiency of the

pleadings. See Dkt. No. 426. However, the Court indicated that it would consider supplemental

briefing on the applicable statutes oflimitation, and potentially grant the Individual Defendants'

motion to dismiss the three claims as time-barred. Id. at 45, 53.

       With the benefit of this supplemental briefing, the Court now reconsiders the arguments

made with respect to the statute oflimitations. For the reasons set forth below, the Individual

Defendants' motion to dismiss is GRANTED.

I. Background

       The Court has recounted the factually and procedurally complex background of this case

in several prior substantive decisions, including in the Memorandum & Order under



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reconsideration here. See Dkt. No. 426 at 2-8. It does so here only to the extent necessary to

contextualize the present issues.

        A. Factual Allegations

        Almaty, the largest city in Kazakhstan, claims that its former mayor, Viktor Khrapunov,

along with certain associates and family members including his son Ilyas Khrapunov, embezzled

approximately $300 Million from Almaty between approximately 1997 and 2004. See First

Amended Crossclaims ("FAC"), Dkt. No. 219, ilil 45-55. BTA Bank claims that its former

chairman Mukhtar Ablyazov siphoned more than $6 Billion out ofBTA between approximately

2005 and 2009. Id. ilil 28-35. The Crossclaim Plaintiffs City of Almaty and BTA Bank JSC

(together, the "Kazakh Entities") further allege that, in order to evade law enforcement, the

Individual Defendants - who were related by marriage - joined together to launder the stolen

funds through a series of shell companies, sham transactions, and outwardly-legitimate

investments. See, e.g., id. ilil 56-59, 68-72, 77-97. As part of this effort, the Individual

Defendants purportedly facilitated the creation of several entities for the purpose of investing

stolen funds in United States-based real estate projects. Id. ilil 86-87. In 2012 and 2013, one of

these entities, Triadou, acting at the direction of the Individual Defendants, invested funds

allegedly embezzled from the Kazakh Entities in several New York City real estate projects. Id.

ilil88-97, 111-13.

       Among other claims, the Kazakh Entities brought suit against the Individual Defendants

for unjust enrichment, conversion, and constructive trust based on their alleged embezzlement

and investments. See id. ilil 174-86.




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        B. The Court's Previous Discussion

        In September 2016, the Individual Defendants moved to dismiss the Kazakh Entities'

unjust enrichment, conversion, and constructive trust claims. Dkt. Nos. 227-29, 231-33. In their

motion, they advanced two separate arguments for dismissal. First, the Individual Defendants

asserted that the Kazakh Entities did not plead sufficient allegations to state a claim upon which

relief could be granted. Dkt. No. 228 at 15-17; Dkt. No. 232 at 20-21. Second, the Individual

Defendants argued that these three claims were time-barred by the applicable statutes of

limitations. Dkt. No. 228at15-18; Dkt. No. 232at17-20.

        In its September 26, 2017 Amended Memorandum & Order, the Court denied the

Individual Defendants' motion to dismiss these three counts on grounds of insufficiency, but

reserved judgment on the statute oflimitations argument pending supplemental briefing. See Dkt.

No. 426 at 34-38, 41-45. The Court tentatively concluded that New York's "borrowing statute"

governed the applicable statutes oflimitations. Id. at 44-45. The provision states:

       An action based upon a cause of action accruing without the state cannot be commenced
       after the expiration of the time limited by the laws of either the state or the place without
       the state where the cause of action accrued, except that where the cause of action accrued
       in favor of a resident of the state the time limited by the laws of the state shall apply.
N.Y. C.P.L.R. § 202.

In other words, when a nonresident sues on a cause of action accruing outside New York, the

borrowing statute "requires the cause of action to be timely under the limitations periods of both

New York and the jurisdiction where the cause of action accrued." Global Fin. Corp. v. Triarc

Corp., 93 N.Y.2d 525, 528 (1999).

        Because the Individual Defendants had first raised the application of the borrowing

statute and made representations regarding the applicable Kazakh statute of limitations in their




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reply, the Court noted that the Kazakh Entities had not had the chance to rebut these assertions or

offer their own understanding of the applicable statute oflimitations. 1 Dkt. No. 426 at 45.

         On October 6, 2017, the Kazakh Entities submitted their supplemental reply

memorandum oflaw, maintaining their opposition to the Individual Defendants' motion to

dismiss. Dkt. No. 434. On October 11, 2017, the Individual Defendants submitted their

supplemental reply memorandum oflaw. Dkt. No. 441.

         C. The Parties' Respective Positions

         Given another opportunity to rebut the Individual Defendants' arguments, the Kazakh

Entities make three main arguments.

         First, with respect to the unjust enrichment claim, the Kazakh Entities assert that it is

timely because the cause of action is predicated in part on the Individual Defendants' more

recent domestic conduct. Dkt. No. 434 at 3. They argue that while the Individual Defendants

were "also unjustly enriched when they stole the Kazakh Entities' money abroad," that conduct

is encompassed in the conversion claim while the unjust enrichment claim is based on the

conspirators' domestic investments. Id. at 4 (citing the Court's Memorandum & Order, Dkt. No.

426, at 35) (emphasis in original). The Kazakh Entities, operating under the assumption that the

statute of limitations began to run from the date of the first wire transfer of stolen funds for the

domestic investments (November 9, 2012), contend that under New York's statute oflimitations

the unjust enrichment claims would be timely. Id. at 5.

         The Individual Defendants counter that the Kazakh Entities' arguments rest on the

incorrect assumption that their unjust enrichment claim accrued in New York. Dkt. No. 441 at 3.


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           As the Kazakh Entities note in their supplemental brief, see Dkt. No. 434 at n.1, the Court mistakenly
transposed the parties' names in making this point on page 45. For clarity of record, the above formulation - that
the Kazakh Entities had not had the chance to respond to the Individual Defendants' claims in their reply 1s
correct. See also Dkt. No. 426 at 42, 53.

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To the contrary, they assert that the Individual Defendants' claim has always been pleaded more

broadly, encompassing actions outside of the real estate investments as well. Id.

         Second, the Kazakh Entities assert that their conversion and constructive trust claims -

which relate to the Individual Defendants' original embezzlement in Kazakhstan- are timely

under Article 167 of the Kazakhstan Criminal Procedure Code as civil claims related to criminal

conduct. Dkt. No. 434 at 2-3. Based on the Declaration of Kazakh lawyer Assem

Baimakhanova, they assert that so long as criminal investigations in Kazakhstan were ongoing

when the Kazakh Entities filed their crossclaims, their claims are timely under the laws of

Kazakhstan and not barred under N.Y. C.P.L.R. § 202. Id. at 3 (citing Ex. 1, Baimakhanova

Deel. irir 7-9).

        The Individual Defendants offer their own expert declaration from Professor Peter B.

Maggs. Dkt. No. 441at1-2 (citing Ex. 1, Maggs Deel. irir 8-14). Professor Maggs purports to

rebut Ms. Baimakhanova's portrayal of "civil claims in a criminal proceeding" and argues that

the Kazakh Entities' crossclaims are better characterized as a civil lawsuit under Article 178 of

the Criminal Code. Maggs Deel. ifif 6-15.

        Third and finally, the Kazakh Entities argue in the alternative that Ilyas Khrapunov

waived any statute oflimitations argument because the Individual Defendants asserted those

arguments with respect to Viktor Khrapunov alone. Id. at 2.

        The Court now considers these arguments.

II. Discussion

        A. The Kazakh Entities' Conversion and Constructive Trust Claims Are Time-
           Barred

        Unlike with the unjust enrichment claim, for which the relevant conduct and time and

place of accrual are disputed as discussed below, there is no dispute that the conversion and


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constructive trust claims accrued in Kazakhstan at the time of the initial alleged embezzlement.

Dkt. No. 426 at 42 (quoting Mosdos Chafetz Chaim, Inc. v. RBS Citizens, NA., 14 F. Supp. 3d

191, 209 (S.D.N.Y. 2014) (statute oflimitations begins running "when the alleged conversion

takes place")); id. at 43 (quoting Reiner v. Jaeger, 855 N.Y.S.2d 613, 614 (N.Y. App. Div. 2008)

(constructive trust statute of limitations begins to accrue "upon the occurrence of the wrongful

act giving rise to a duty ofrestitution") (internal citation and quotation marks omitted)).

Accordingly, under New York's "borrowing statute," each claim would have to be timely under

Kazakh law to be timely under New York law as well.

            Each side offers its own understanding of the applicable provision in Kazakh law,

buttressed by its own expert. The Kazakh Entities, relying on Ms. Baimakhanova's declaration,

assert that both claims would be timely under Kazakh law as civil claims based on criminal

conduct and subject to the provisions of Article 167 of the Criminal Procedure Code. See Dkt.

No. 434 at 3, Ex. 1 (Baimakhanova Deel.). Under Article 167, a crime victim's civil claims are

timely if brought before the end of the judicial investigation. Baimakhanova Deel. if 9. This type

of civil claim, brought within a criminal prosecution, does not exist in American law. The

Individual Defendants, through their expert, Professor Peter Maggs, contend that this type of

claim is not analogous to what the Kazakh Entities seek here. See Dkt. No. 441 at 1-2, Ex. 1

(Maggs Deel. ifif 8, 14). Professor Maggs notes that a civil claim- as distinct from a civil

lawsuit - can only be brought to recover damages caused by the criminal acts, cannot be filed

absent an existing prosecution, and cannot prevail if the prosecution is dropped or unsuccessful.

Maggs Deel. ifif 9-12. Additionally, the civil claimant has no control of the prosecution of the

case. Id.   if 12.




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       While the conversion and constructive trust claims do arise from facts underlying the

prosecution of the Individual Defendants in Kazakhstan, the Court finds that the claims are more

closely analogous to the plenary civil lawsuit governed by Article 178 of the Civil Code of the

Republic of Kazakhstan, which provides a three-year statute of limitations. The Kazakh Entities'

claims amount to more than a victim simply making himself or herself known to prosecuting

authorities so as to have a claim to any money recovered by the Government. Here, they have

full control over the prosecution of their own case, seek equitable remedies (in the form of a

constructive trust) to prevent "further dissipation of the funds," FAC if 184, and could potentially

obtain relief irrespective of the results of the criminal proceeding in Kazakhstan. Accordingly,

the Court finds that the default three-year statute oflimitations would apply in Kazakhstan, and

that it applies in the present litigation as well per New York's borrowing statute, N.Y. C.P.L.R. §

202. As these claims accrued no later than 2009 in the case of Ablyazov, and no later than 2007

in the case ofViktor Khrapunov, they are time-barred.

       B. The Kazakh Entities' Unjust Enrichment Claim Is Time-Barred

       Under New York law, the limitations period for unjust enrichment accrues "upon the

occurrence of the wrongful act giving rise to a duty ofrestitution." Golden Pac. Bancorp v. Fed.

Deposit Ins. Corp., 273 F.3d 509, 520 (2d Cir. 2001) (quoting Congregation Yetev Lev

D'Satmar, Inc. v. 26 Adar NB. Corp., 596 N.Y.S.2d 435, 437 (N.Y. App. Div. 1993)).

       As the Court stated previously, the unjust enrichment claim "accrued when the allegedly

wrongful acts of embezzlement occurred, no later than 2009 in the case of Ablyazov, and no later

than 2007 in the case of Victor Khrapunov." Dkt. No. 426 at 44. The Kazakh Entities agree that

the unjust enrichment claim accrued when the Individual Defendants allegedly "stole the Kazakh

Entities' money abroad," but argue that the conduct in Kazakhstan is encompassed in the



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conversion claim and that the unjust enrichment claim also relies upon "the conspirators'

domestic investments aimed at increasing and laundering those converted funds." See Dkt. No.

434 at 4. This is all true - in fact, the Court has previously noted how the unjust enrichment

claim is pleaded to incorporate these domestic investments. See Dkt. No. 426 at 35. However,

the mere fact that the Crossclaim Plaintiffs include later conduct in New York in pleading their

unjust enrichment claim does not resolve the statute of limitations issue before the Court. The

additional post-embezzlement conduct included in the Amended Crossclaims does not alter the

fact that the cause of action accrued when the alleged embezzlement first occurred.

         The Kazakh Entities offer no legal authority for their contention that the statute of

limitations "began to run from the date of the first wire transfer of stolen funds for the domestic

investments on November 9, 2012," see Dkt. No. 434 at 5 (emphasis removed), and the Court

can find none. As stated above, under New York law, the limitations period for unjust

enrichment accrues "upon the occurrence of the wrongful act giving rise to a duty ofrestitution,"

which is undoubtedly at the moment of alleged embezzlement, not when those embezzled funds

were transferred for domestic investment. Golden Pac. Bancorp, 273 F.3d at 520. 2

         The Kazakh Entities' argument attempts to import rules that may have purchase in other

contexts, but that have not been recognized to apply to unjust enrichment claims under New

York law. In the civil RICO context, the Second Circuit has established the so-called "separate

accrual" rule, finding that "in some instances a continuing series of fraudulent transactions

undertaken within a common scheme can produce multiple injuries which each have separate

limitations periods." In re Merrill Lynch Ltd. Partnerships Litig., 154 F.3d 56, 59 (2d Cir. 1998)


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            As the Individual Defendants argued in moving to dismiss the claim, if the unjust enrichment claim were
based on the embezzlement alone, it may be duplicative of Crossclaim Plaintiffs' conversion claim. The Court
previously declined to reach this argument as it was unnecessary to the prior disposition, see Dkt. No. 426 at 42, n.6,
and still does not reach the question, as it remains unnecessary to the disposition here.

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(citation omitted). 3 And the "continuing tort doctrine" allows that "in certain tort cases involving

continuous or repeated injuries, the statute oflimitations accrues upon the date of the last injury."

Mix v. Delaware & Hudson Ry. Co., Inc., 345 F.3d 82, 88 (2d Cir. 2003). 4 Crossclaim Plaintiffs

provide no authority for extending these doctrines to the unjust enrichment context.

         Accordingly, because the unjust enrichment claim initially accrues at the point of the

alleged embezzlement, the Court finds that the same three-year statute oflimitations applied in

Kazakhstan applies here per New York's borrowing statute. The unjust enrichment claim is

time-barred as to Viktor Khrapunov and Ablyazov. 5

         C. The Claims against Ilyas Khrapunov Are Also Time-Barred

         Finally, the Kazakh Entities argue that because the Individual Defendants' moved to

dismiss the common law claims as time-barred as to Viktor Khrapunov, and not Ilyas

Khrapunov, Ilyas Khrapunov therefore forfeited this argument. See Dkt. No. 434 at 1-2 (citing

Dkt. No. 232 at 17). However, the argument has been presented on behalf of the plural

"Khrapunovs" in other motion papers, see Dkt. No. 246 at 7, and to consider the argument only

with respect to Viktor would be to sanction an illogical discrepancy. Moreover, the Crossclaim

Plaintiffs pleaded these three claims against the Individual Defendants as collective unit, see

FAC iii! 174-80, or as the "Ablyazov-Khrapunov Group," see FAC iii! 183, 185-86, not

specifying how it applied to each defendant separately.



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           Importantly, however, even in the civil RICO context, the Second Circuit held that the separate accrual
rule did not apply where acts "were continuing efforts to conceal the initial fraud, and not separate and distinct
fraudulent acts resulting in new and independent injuries." Id. at 59-60.
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          This doctrine is applied narrowly in this Circuit, and "[a]s a general rule, courts in the Second Circuit
have viewed continuing violation arguments with disfavor." Curtis v. Airborne Freight Corp., 87 F. Supp. 2d 234,
244 (S.D.N.Y. 2000).
        5
           Even if the New York statute of limitations were to apply, the claim would be governed by a three-year or
six-year statute oflimitations, see Dkt. No. 426 at 43 (citing Grynberg v. Eni S.p.A., No. 06-CV-6495 (RLC), 2007
WL 2584727, at *3 (S.D.N.Y. Sept. 5, 2007)), and so would still be time-barred.

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       The question then is when the unjust enrichment claim accrued as to Ilyas Khrapunov

individually. In the Amended Crossclaims, which the Court must accept as true for the purposes

of this motion, the Kazakh Entities pleaded that Ilyas Khrapunov formed and controlled Swiss

Development Group (or "SDG") for the benefit of the Ablyazov-Khrapunov Group, and add that

"[b]etween 2008 and 2012, the Ablyazov-Khrapunov Group and sham companies they controlled

funneled at least $115 million into SDG derived from the Ablyazov-Khrapunov Group's self-

dealing and fraud." FAC i! 58. As a result, the Court finds that the unjust enrichment claim first

accrued against Ilyas Khrapunov at some time in 2008 when his entity, SDG, received the

allegedly illicit funds. Based on the applicable statute oflimitations as held above, the claims

against Ilyas Khrapunov are also time-barred.

III. Conclusion

       For the foregoing reasons, the Crossclaim Plaintiffs' claims for unjust enrichment (Count

Eight), conversion (Count Nine) and constructive trust (Count Ten) are dismissed as time-barred.

       SO ORDERED.

 Dated: March       , 2018
        New York, New York


                                                           United States District Judge




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